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5

6
                                 UNITED STATES DISTRICT COURT
7
                            NORTHERN DISTRICT OF CALIFORNIA
8

9                           SAN FRANCISCO - OAKLAND DIVISION

10   JORMA NOTTBOIGM,                          Case No. ___________________
11                  Plaintiff,                 COMPLAINT FOR:
12   vs.
                                               [1] DECLARATORY RELIEF RE:
13   TESLA, INC., a Delaware corporation       MANDATORY ARBITRATION OF
                                               CLAIMS;
14                  Defendant.                 [2]DISCRIMINATION ON ACCOUNT OF
15                                             DISABILITY (California Fair Employment
                                               & Housing Act);
16                                             [3] FAILURE TO ACCOMMODATE
                                               DISABILITY(California Fair Employment
17                                             & Housing Act);
18                                             [4] FAILURE TO ENGAGE IN
                                               INTERACTIVE PROCESS (California Fair
19                                             Employment & Housing Act);
                                               [5] UNLAWFUL WORKPLACE
20                                             RETALIATION;
21                                              (Labor Code §1102.5);
                                               [6] NEGLIGENT HIRING AND
22                                             RETENTION;
                                               [7] WRONGFUL CONSTRUCTIVE
23                                             TERMINATION OF EMPLOYMENT;
24                                             [8] VIOLATION OF CALIFORNIA
                                               BUSINESS & PROFESSIONS CODE
25                                             §17200;
                                               [9] WRONGFUL TERMINATION
26                                             AGAINST PUBLIC POLICY
27

28                                         1
                      COMPLAINT FOR DECLARATORY RELIEF AND DAMAGES
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1
     JORMA NOTTBOHM, alleges:
2
                         PARTIES, JURISDICTION and VENUE
3
      1.   Plaintiff is a natural person and citizen/resident of California.
4
       2. The defendant TESLA, INC. (“Tesla”) is a corporation organized and existing
5
            under the laws of the State of Delaware.
6
       3. This court has jurisdiction of this action under 28 USC §1332 (diversity).
7
       4. Venue in this court is proper because the facts and events alleged herein occurred
8
            in the City of Fremont, County of Alameda, State of California, within the
9

10
            Northern District of California.

11     5. The amount in controversy in this matter, exclusive of interest, costs and attorney

12          fees, exceeds $75,000.

13                        FACTS COMMON TO ALL CAUSES OF ACTION

14     6. On or about March 31, 2020, plaintiff was recruited by Furheen Mohamad for

15          employment by Tesla.
16     7. On or about June 18, 2020, at 8:24 PM, plaintiff was offered employment in writing
17          by Tesla. A true and correct copy of the written offer of employment is Exhibit A to
18          this complaint.
19     8. On or about June 18, 2020, at 8:34 PM, plaintiff accepted the offer of employment
20          from Tesla, thus forming an employer-employee relationship between plaintiff and
21
            Tesla.
22
       9. Subsequent to plaintiff’s acceptance of employment by Tesla, plaintiff was presented
23
            with documents to execute as part of Tesla’s onboarding procedure. One document
24
            presented to plaintiff was an agreement compelling plaintiff to arbitrate claims and
25
            disputes that arose out of his employment by Tesla and purporting to waive his right
26
            to seek remedies for employment claims and disputes in court. Plaintiff was told that
27
            signing the arbitration agreement was a condition of him being employed by Tesla.
28                                    2
                 COMPLAINT FOR DECLARATORY RELIEF AND DAMAGES
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1
     10. Believing his refusal to sign an arbitration agreement would result in his loss of
2
         employment by Tesla, plaintiff believed he had no choice whether to sign Exhibit B,
3
         which he did on or about June 18, 2020, at 8:34 PM.
4
     11. On or about June 29, 2020, having accepted employment at Tesla, plaintiff
5
         began working at Tesla’s facility. Plaintiff’s initial job title was “Associate
6
         Service Manager, Front House.”
7
     12. On or about August 20, 2020, plaintiff began to suffer from medical issues involving
8
         his knees. With Tesla’s knowledge and approval, Plaintiff took a leave from work at
9

10
         Tesla from May 12, 2021, to August 8, 2021, for surgical repair and medical

11       treatment of his left knee.

12   13. Following his return to work from the authorized medical leave of absence,

13       plaintiff began to experience pain and symptoms in his right knee, i.e., the knee which

14       had not been the subject of the previous surgery.

15   14. Fearing that requesting another authorized medical leave for a repair surgery
16       would jeopardize his future employment at Tesla, plaintiff continued to work at
17       Tesla, albeit in great pain and discomfort.
18   15. Eventually, solely on account of his disability, as well known to Tesla and Sheik, it
19       became difficult for plaintiff to stand for any length of time. During this time,
20       plaintiff became the target of frequent and unjustified criticism and humiliation by
21
         plaintiff’s immediate supervisor, Fazulul Haque Sheik (“Sheik”) because of
22
         plaintiff’s temporary disability. Sheik’s criticisms of plaintiff, made in the
23
         presence of plaintiff’s coworkers, focused on plaintiff’s medical issues involving
24
         his knees. On occasion, Sheik stated to Plaintiff, “You don’t need your knee to
25
         think.”
26
     16. On or about November 5, 2021, plaintiff asked Sheik whether he could sit rather
27
         than stand during a staff meeting. Sheik refused plaintiff permission to sit during
28                                 3
              COMPLAINT FOR DECLARATORY RELIEF AND DAMAGES
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1
        meetings. Instead, knowing that standing caused plaintiff severe in pain and
2
        discomfort and could not stand for any length of time, Sheik cruelly, sadistically,
3
        vindictively and spitefully instructed Jeff Johnson, one of plaintiff’s coworkers, to
4
        remove plaintiff’s desk chair from plaintiff’s workstation, so that it was impossible
5
        for plaintiff to sit at any time.
6
     17. On November 5th, 2020, plaintiff had an MRI procedure done on his right knee.
7
        The MRI result showed that he needed right knee surgery immediately.
8
        Unfortunately, due to COVID-19 restrictions, elective surgeries, including knee
9

10
        replacements and repairs, were being postponed. As a result, plaintiff continued to

11      work at Tesla, enduring great pain and hardship because of the lack of the

12      requested reasonable accommodation, which has been refused by Sheik and Tesla.

13   18. On or about December 23, 2021, as recommended by his physician, plaintiff took

14      an approved medical leave of absence to have surgery on his right knee, which

15      surgery occurred on December 27, 2021.
16   19. While on this approved medical leave, Plaintiff attempted to transfer to a different

17      location within the company in which he would not be supervised by Sheik.
18      However, Sheik gave Plaintiff a false negative review for the short period he
19      worked since his first surgery, which false negative review prevented Plaintiff
20
        from being able to move to a new location. The review from Sheik contained
21
        multiple false statements and conclusions which caused Plaintiffs severe and
22
        substantial emotional distress, causing it to be necessary for Plaintiff to engage the
23
        services of a psychotherapist.
24
     20. Due to all of the foregoing events and actions of Tesla and Sheik, on June 30,
25
        2022, Plaintiff reasonably concluded he had no option other than to resign his
26
        employment by Tesla, which he ultimately did.
27

28                                 4
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1
     21. At all times mentioned herein, Plaintiff performed all his employment duties
2
        and responsibilities in exemplary fashion and to the best of his abilities.
3
                TESLA’S WAIVER OF RIGHT TO ARBITRATE
4
     22. On November 7, 2022, following the separation of his employment from Tesla,
5
        acting in good faith, plaintiff initiated an arbitration proceeding with Judicial
6
        Arbitration and Mediation Services (“JAMS”), JAMS arbitration Demand Ref.
7
        5100000746. A true and correct copy of the plaintiff’s Demand for Arbitration is
8
        Exhibit B to this complaint.
9

10
     23. On November 7, 2022, Tesla’s counsel, Alif Mia, was served with a true and

11      correct copy of Exhibit B. A true and correct copy of the email transmitting

12      service of Exhibit B is Exhibit C to this complaint.

13   24. On November 15, 2022, Mr. Mia stated to plaintiff’s counsel that he had not

14      received Exhibits B and C and requested copies be sent to him. Plaintiff’s

15      counsel then forwarded Exhibits B and C to Tesla and Alif Mia a second time.
16      A true and correct copy of the email forwarding the November 7, 2022 email,
17      constituting a second service service of Exhibit B is Exhibit D to this
18      complaint.
19   25. On December 21, 2022, counsel for plaintiff received an email from Timothy
20      Kim. In this email, Mr. Kim states he is now counsel for Tesla in this matter.
21
        A true and correct copy of Mr. Kim’s email of December 21, 2022, is Exhibit E to
22
        this complaint.
23
     26. Between April 15, 2022, and the filing of this complaint, counsel for plaintiff
24
        exchanged at least 39 email communications with counsel for Tesla regarding
25
        Plaintiff’s claims asserted in this complaint and, in particular (after November
26
        7, 2022), whether Tesla intended to respond to plaintiff’s demand in arbitration
27
        which had been twice served on it.
28                                5
             COMPLAINT FOR DECLARATORY RELIEF AND DAMAGES
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1
        At no time between service of plaintiff’s demand for arbitration and the filing
2
        of this complaint has Tesla (a) filed any response to plaintiff’s demand for
3
        arbitration and/or (b) paid the arbitration fees under JAMS Employment
4
        Arbitration Rules and California law which in was required to pay.
5
     27. Pursuant to California Code of Civil Procedure §1281.97(a) et seq., Tesla’s
6
        failure to respond to plaintiff’s demand for arbitration and/or to pay the
7
        arbitration fees it was required to pay under California law and JAMS
8
        Employment Arbitration Rules, to the extent it ever had any such right at all,
9

10
        Tesla has irrevocably waived its right to compel the arbitration of the claims

11      asserted by plaintiff in this action.

12                               FIRST CAUSE ACTION

13                           FOR DECLARATORY RELIEF

14   28. The plaintiff incorporates and realleges each and every allegation pleaded in

15      Paragraphs 1 through 27, supra, of this complaint.
16   29. A genuine dispute between the parties has arisen on account of the foregoing
17      facts. Plaintiff contends Tesla’s failure to respond to his Demand for Arbitrations
18      and, in particular, Tesla’s failure to pay arbitration fees as required by California
19      Code of Civil Procedure §1281.97(a) et seq., constitutes an irrevocable waiver of
20      Tesla’s right to compel mandatory arbitration of Plaintiff’s claims asserted in this
21
        action, to the extent it ever had any such right at all. On information and belief,
22
        Plaintiff alleges that Tesla contends Plaintiff is compelled to arbitrate his claims.
23
     30. Plaintiff requests a declaration and ruling from this court that Tesla has irrevocably
24
        waived its right, if any, to compel Plaintiff to arbitrate the claims asserted in this
25
        action and that this action may proceed in this court under the Federal Rules of
26
        Civil Procedure.
27

28                                 6
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1
                                   SECOND CAUSE OF ACTION
2
             UNLAWFUL DISCRIMINATION ON ACCOUNT OF DISABILITY
3
        The plaintiff incorporates and realleges each and every allegation pleaded in
4
        Paragraphs 1 through 27, supra, of this complaint.
5
     31. Plaintiff has satisfied all administrative requirements to bring his claims based
6
        on unlawful employment discrimination based on disability. On October 9,
7
        2023, Plaintiff was issued a Right to Sue Letter from the California Civil
8
        Rights Agency (formerly named the Department of Fair Employment and
9

10
        Housing), CRD Matter Number: 202310-22261209. A true and correct copy of

11      the Right to Sue Letter and related documents (“Right To Sue”) are attached to

12      this complaint as Exhibit F. The Right to Sue was served on Tesla’s counsel on

13      October 9, 2023.

14   32. The actions of Tesla and Sheik, as alleged in this complaint, constitute

15      unlawful discrimination in employment in violation of the California Fair
16      Employment and Housing Act, Government Code §§12900–12996, as amended,
17      causing plaintiff general and special damages in excess of $75,000 and according
18      to proof at the time of trial.
19                               THIRD CAUSE OF ACTION
20            FAILURE TO REASONABLY ACCOMMODATE DISABILITY
21
     33. The plaintiff incorporates and realleges each and every allegation pleaded in
22
        Paragraphs 1 through 27, supra, and Paragraph 31, infra of this complaint.
23
     34. The actions of Tesla and Sheik, as alleged herein, constitute Tesla’s unlawful
24
        failure to accommodate Plaintiff’s reasonable request for disability
25
        accommodation in employment, in violation of the California Fair
26
        Employment and Housing Act, Government Code §§12900– 2996, as amended,
27
        causing plaintiff general and special damages in excess of $75,000 and according
28                                7
             COMPLAINT FOR DECLARATORY RELIEF AND DAMAGES
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1
        to proof at the time of trial.
2
                             FOURTH CAUSE OF ACTION
3
                FAILURE TO ENGAGE IN INTERACTIVE PROCESS
4
     35. The plaintiff incorporates and realleges each and every allegation pleaded in
5
        Paragraphs 1 through 27, supra, and Paragraph 31, infra of this complaint.
6
     36. The actions of Tesla and Sheik, as alleged in this complaint, constitute Tesla’s
7
        unlawful failure to engage in an interactive process seeking to accommodate
8
        Plaintiff’s reasonable request for a disability accommodation in employment,
9

10
        in violation of the California Fair employment and Housing Act, Government

11      Code §§12900–12996, as amended, causing plaintiff general and special damages

12      in excess of $75,000 and according to proof at the time of trial.

13                          FIFTH CAUSE OF ACTION

14               UNLAWFUL EMPLOYMENT RETALIATION

15   37. The plaintiff incorporates and realleges each and every allegation pleaded in
16      Paragraphs 1 through 27, supra, and Paragraph 31, infra of this complaint.
17   38. During the course of his employment, plaintiff engaged in multiple protected acts.,
18      including, but not limited to:
19      (a) Requesting Sheik and Tesla engage in an interactive process with him to seek
20          to reasonably accommodate his disability;
21
        (b) Requesting that, due to his temporary disability, he be permitted to remain
22
            seated rather than stand during company meetings;
23
        (c) Seeking to transfer to another department or location so as not to be supervised
24
            by Skeik, whom plaintiff reasonably believed harbored dislike and animus
25
            towards him and persons with disabilities;
26
        (d) Disagreeing with the contents and conclusions of one or more performance
27
            reviews of him by Skeik.
28                                8
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1
     39. Solely motivated by Plaintiff having engaged in the foregoing protected acts, as
2
        well as other protected acts, Telsa and Sheik unlawfully took adverse employment
3
        actions against plaintiff, including, but not limited to:
4
        (a) Verbally disparaging, criticizing and humiliating Plaintiff in the presence of his
5
            coworkers;
6
        (b) Knowing that standing caused plaintiff severe pain and discomfort and that
7
            plaintiff could not stand for any length of time, Skeik cruelly, sadistically and
8
            vindictively and spitefully ordered one of Plaintiff’s coworkers, Jeff Johnson,
9

10
            to remove Plaintiff’s desk chair from his desk, making it impossible for

11          Plaintiff was unable to sit, as he had requested on account of his disability;

12      (c) Making false, disparaging and misleading performance reviews of Plaintiff,

13          making it impossible for Plaintiff to transfer to another job, location or position

14          at Tesla, as he has attempted to do;

15      (d) Causing continued employment at Tesla while being supervised by Skeik to be
16          impossible for Plaintiff without causing plaintiff further physical, emotional
17          and psychological injury, forcing Plaintiff to resign his employment by Tesla.
18   40. The actions of Tesla and Sheik, as alleged in this complaint, constitute Tesla’s
19      unlawful workplace retaliation against plaintiff, in violation of California
20      Labor Code §1102.5, causing plaintiff general and special damages in excess of
21
        $75,000 and according to proof at the time of trial.
22
                               SIXTH CAUSE OF ACTION
23
          NEGLIGENT HIRING AND/OR RETENTION OF EMPLOYEE
24
     41. The plaintiff incorporates and realleges each and every allegation pleaded in
25
        Paragraphs 1 through 27, supra, of this complaint.
26
     42. At all times mentioned in this complaint, Tesla was under a duty to Plaintiffs and
27
        its other employees to not hire and/or retain employees whom it knew, or should
28                                9
             COMPLAINT FOR DECLARATORY RELIEF AND DAMAGES
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1
        have known, would violate the rights of other Tesla employees, especially those
2
        employees with whose supervision they were charged.
3
     43. Notwithstanding its foregoing duty to Plaintiff and others, Tesla knew or, with the
4
        exercise of reasonable diligence, should have known that Skeik was an employee
5
        who violated the civil and other rights of employees he supervised, including,
6
        without limitation, the rights of disabled employees and particularly including the
7
        rights of the Plaintiff.
8
     44. Notwithstanding its foregoing duty to Plaintiff Tesla breached its duty to not hire
9

10
        or retain employees whom it knew, or should have known, would violate the rights

11      of other Tesla employees, especially those employees with whose supervision they

12      were charged, by hiring and retaining the employment of Skeik, who violated

13      Plaintiff’s rights as alleged in this complaint.

14   45. The negligent actions of Tesla, as alleged in this cause of action, caused

15      plaintiff general and special damages in excess of $75,000 and according to proof
16      at the time of trial.
17                        SEVENTH CAUSE OF ACTION
18            WRONGFUL CONSTRUCTIVE TERMINATION
19   46. The plaintiff incorporates and realleges each and every allegation pleaded in
20      Paragraphs 1 through 27, supra, of this complaint.
21
     47. The actions of Tesla and Sheik, as alleged in this complaint, caused Plaintiffs
22
        to involuntarily resign from his employment by Tesla, constituting Tesla’s
23
        unlawful constructive termination of Plaintiff’s employment, causing plaintiff
24
        general and special damages in excess of $75,000 and according to proof at the
25
        time of trial.
26

27

28                                 10
              COMPLAINT FOR DECLARATORY RELIEF AND DAMAGES
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1
                               EIGHTH CAUSE OF ACTION
2
     WRONG CONSTRUCTIVE TERMINATION AGAINST PUBLIC POLICY
3
       48. The plaintiff incorporates and realleges each and every allegation pleaded in
4
          Paragraphs 1 through 27, supra, of this complaint.
5
       49. The constructive termination of plaintiff’s employment by defendant violated
6
          California public policies created by a statute or regulation, to wit: the Fair
7
          Employment and Housing Act, Government Code §§ 12900–12996, as
8
          amended, Labor Code §1102.5, and Civil Code §17200.
9

10
       50. Defendant is therefore liable to the plaintiff for all of plaintiff’s damages

11        proximately arising from the termination of his employment by defendant

12        including, his actual damages, a civil penalty of $10,000 for each violation

13        plaintiff’s attorney fees incurred in bringing this action and costs as allowable by

14        law.

15                           NINTH CAUSE OF ACTION
16        VIOLATION OF BUSINESS & PROFESSIONS CODE SECTION 17200
17     51. The plaintiff incorporates and realleges each and every allegation pleaded in
18        Paragraphs 1 through 27, supra, of this complaint.
19     52. The termination of plaintiff’s employment by defendant was an “unlawful, unfair
20        or fraudulent business act or practice” as set forth by Business and Professions
21
          Code §17200 in that it has prevented Plaintiff from engaging and pursuing the
22
          same or similar subsequent employment he had with Tesla with other employers.
23
       53. Defendant is therefore liable to the plaintiff for all of plaintiff’s harm and damages
24
          proximately arising from the termination of his employment by defendant
25
          including, his actual damages, and his attorney fees incurred in bringing this
26
          action.
27

28                                    11
                 COMPLAINT FOR DECLARATORY RELIEF AND DAMAGES
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1                                REQUEST FOR RELIEF
2
        Plaintiff requests the following relief:
3
     A. For a declaration and ruling of this court that Tesla has irrevocably waived its right to
4
        compel Plaintiff to arbitrate the claims asserted in this action and that this action may
5

6       proceed in this court.

7    B. For general and special damages in excess of $75,000 and according to proof at trial;
8
     C. For a civil penalty of $10,000 for each violation of the California Labor Code as herein
9
        alleged and according to proof;
10
     D. For interest on such damages from the date of their incurrence;
11

12   E. For such other civil penalties and fines as may be applicable by law;

13   F. For plaintiff’s reasonable attorney fees incurred in bringing this action.
14
     G. .For plaintiff’s costs incurred in this action as allowed by law.
15
        Dated: October 10, 2023                 THE JAFFE LAW FIRM
16
                                                By: _/s/ Stephen R. Jaffe________
17
                                                     Stephen R. Jaffe [CBN 49539]
18                                                 ATTORNEYS FOR PLAINTIFF

19                                DEMAND FOR JURY TRIAL
20
        Plaintiff demands a trial by jury.
21
        Dated: October 10, 2023                 THE JAFFE LAW FIRM
22
                                               By: _/s/ Stephen R. Jaffe________
23
                                                    Stephen R. Jaffe [CBN 49539]
24                                           ATTORNEYS FOR PLAINTIFF

25

26

27

28                                       12
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